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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                  USDC SDNY
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ROBERT JONES,                                          :       DATE FILED: January 16, 2018
                                                                            ______________
                                                       :
                                       Plaintiff,      :
                                                       :
                        v.                             :       14 Civ. 6402 (KPF)
                                                       :
DETECTIVE JAMES MEEHAN, DETECTIVE :                          OPINION AND ORDER
JOSE CRIOLLO, DETECTIVE ADAM                           :
SAGER, DETECTIVE GREGORY                               :
THORNTON, LIEUTENANT FELIX RIVERA, :
and OFFICER STEVEN MIKOLANDA,                          :
                                                       :
                                       Defendants. :
                                                       :
------------------------------------------------------ X
KATHERINE POLK FAILLA, District Judge 1:

       Plaintiff Robert Jones, proceeding pro se, claims that his Fourth, Fifth,

Sixth, Eighth, and Fourteenth Amendment rights were violated in the course of

his January 2012 arrest and prosecution for a string of burglaries. After the

Court dismissed sua sponte certain parties from the case, those remaining as

Defendants are the following present or former employees of the New York City

Police Department (“NYPD”): Detective James Meehan, Detective Jose Criollo,

Detective Adam Sager, Detective Gregory Thornton, Lieutenant Felix Rivera,

and Officer Steven Mikolanda (collectively, “Defendants”). 2 Pending before the

Court are the parties’ cross-motions for summary judgment. After a thorough



1      The Clerk of Court is directed to modify the caption of this case as set forth above.
2      The Complaint also names the Property Clerk’s Office, presumably seeking to hold liable
       a member of that office as a John Doe Defendant. Because there is insufficient
       evidence identifying, much less explaining the conduct of, any such defendant, the
       Court will not address his or her liability further in this Opinion.
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review of the record, and after construing Plaintiff’s claims liberally because of

his pro se status, the Court concludes that Defendants are entitled to summary

judgment on all claims.

                                    BACKGROUND 3

A.    Factual History

      As will soon become relevant to the Court’s analysis, Plaintiff suffers

from a variety of medical ailments. Plaintiff testified during his deposition that

as the result of a car accident in 1986 and an altercation with law enforcement

in 1999, he suffered injuries to his neck, back, right knee, and right hip; these

injuries have required at least two surgeries. (See Pl. Dep. 20:6-21:24, 26:21-

27:9). In addition, Plaintiff had been using crutches for around three years as

of December 26, 2011. (Def. 56.1 ¶ 13). Separately, Plaintiff suffers from high

blood pressure, for which he has been prescribed Simvastatin, Metoprolol, and

Enalapril Maleate. (See Pl. Dep. 23:23-24:12). And Plaintiff has been

diagnosed with several psychological conditions, including post-traumatic




3     The Court draws its facts principally from the Complaint (“Compl.” (Dkt. #1)), and the
      parties’ submissions in connection with the cross-motions for summary judgment,
      including Defendants’ Local Rule 56.1 Statement (“Def. 56.1” (Dkt. #123)); Plaintiff’s
      memorandum of law in support of his motion for summary judgment (“Pl. Br.” (Dkt.
      #109) and reply memorandum (“Pl. Reply” (Dkt. #129)); the transcript of Plaintiff’s
      deposition (“Pl. Dep.” (Dkt. #122-8)); and the exhibits attached to the declaration of
      Maria Fernanda DeCastro (“DeCastro Decl., Ex. [ ]” (Dkt. #122)). In addition, the Court
      will refer to Defendants’ memorandum of law in support of their cross-motion for
      summary judgment as “Def. Br.” (Dkt. #121)). The Court’s citations to Defendants’
      Rule 56.1 Statement incorporate by reference the documents and testimony cited
      therein. As needed for clarity, the Court has cited to the page numbers assigned by this
      Court’s electronic case filing system in referring to certain of Plaintiff’s submissions.
      (Dkt. #109). The Court will explain in greater detail, in the Discussion portion of this
      Opinion, the manner in which it construed the factual assertions in Plaintiff’s
      submissions.


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stress disorder, anxiety, and antisocial personality disorder. (See id. at

29:17-30:5).

        During the relevant time period, Plaintiff was on parole and living in a

halfway house. (See Def. 56.1 ¶¶ 64-68). The arrest underlying his current

claims resulted from an investigation into a string of burglaries in a compact

area of Manhattan. The NYPD’s investigation into those burglaries, as well as

Plaintiff’s consequent arrest and prosecution, are discussed more fully below.

        1.     The Reported Burglaries

                a.   December 26, 2011 Burglary at 616 Ninth Avenue

        On December 27, 2011, Detective James Meehan received a report that

on the preceding day, the resident of an apartment located at 616 Ninth

Avenue had returned to his apartment to find his front door open and personal

items missing from the apartment. (Def. 56.1 ¶¶ 3-4). Those items included a

2005 Apple Macbook, a 2011 Apple Macbook, an Amazon Kindle, an iMac

desktop computer, and $600.00 cash. (See id. at ¶ 5). The resident also

reported that his kitchen window, which was normally closed, was open. (Id. at

¶ 6).

        On December 29, 2011, Detective Meehan traveled to the scene to

investigate the burglary. (Def. 56.1 ¶ 7). There, he found a knife that did not

belong to the resident. (Id. at ¶ 8). Meehan also viewed a security video

showing a black male with a crutch ascending the stairs to the floor of the

resident’s apartment, before descending the stairs and exiting the building “a

short while later.” (Id. at ¶¶ 11-12).


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                  b.    January 7, 2012 Burglary at 409 West 48th Street

         On January 11, 2012, the resident of an apartment located at 409 West

48th Street informed Detective Jose Criollo that on January 7, 2012, her

bedroom window had been opened and her two Apple computers had been

stolen. (Def. 56.1 ¶¶ 14-16). 4

                  c.    January 11, 2012 Burglary at 405 West 44th Street

         Police also received reports of a burglary that occurred on January 11,

2012: The resident of an apartment located at 405 West 44th Street informed

Detective Criollo that at 6:30 p.m., “he heard a loud bang coming from his

son’s bedroom”; when he entered the room, he witnessed a black male standing

in the middle of the room. (Def. 56.1 ¶¶ 18-19). The resident reported further

that upon his entrance, the black male “fled through a window and went up

the fire escape to the roof of the building.” (Id. at ¶ 20). He described the

culprit as a black male “with a goatee, approximately 20-30 years old, 5’10”

tall, weighing approximately 180 pounds, wearing a black knitted cap.” (Id. at

¶ 21).

         Later that day, at approximately 8:38 p.m., Detective Criollo reported to

scene of the burglary and surveilled the area from the rooftop of 405 West 44th

Street. (Def. 56.1 ¶¶ 22-23). From this vantage point, Detective Criollo noticed

the window of an apartment in the adjacent building, 407 West 44th Street.

(Id. at ¶ 24). He then knocked on the door of the adjacent apartment and


4        Several of the electronics burglarized in this case could be identified by their serial
         numbers. For security reasons, the Court does not repeat those numbers in this
         Opinion.


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spoke with a witness who recalled that “he observed a black male with crutches

go up to the roof of 405 West 44[th] Street” that same day. (Id. at ¶¶ 25-27).

               d.   January 11, 2012 Burglary at 403 West 44th Street

      Also on January 11, 2012, Police Officer Victor Lopez notified Detective

Criollo about a potential burglary at a different adjacent building, 403 West

44th Street. (Def. 56.1 ¶ 28). According to Officer Lopez, while Criollo was

responding to the 405 West 44th Street burglary, Lopez “noticed an open door

and an open window at apartment 5B at 403 West 44th Street.” (Id. at ¶ 29).

At approximately 8:59 p.m., Detective Criollo contacted and interviewed the

resident of the apartment, who reported that upon entering the apartment, she

noticed that several cabinets that were previously closed had been opened. (Id.

at ¶¶ 30-32). She also gave Criollo a black knitted cap that she found on her

bedroom floor near a window, which cap was then vouchered as evidence and

submitted to the NYPD Lab for DNA analysis. (Id. at ¶¶ 33-35). The NYPD

recovered DNA from the cap, which on April 3, 2012, returned a positive match

with DNA of a prior offender, Plaintiff Robert Jones. (Id. at ¶¶ 36-37; see

DeCastro Decl., Ex. P). 5




5     Defendants have introduced exhibits, including documents from the New York State
      Police Forensic Investigation Center, indicating that this state agency determined that
      the DNA obtained from “scrapings” of the discarded black cap matched a DNA sample of
      Plaintiff that was maintained in the New York State DNA Index System (“SDIS”).
      (DeCastro Decl., Ex. N-P). In return, Plaintiff has submitted a report from the Office of
      the Chief Medical Examiner (“OCME”), comparing the DNA evidence from a cup from
      which Plaintiff drank at the Midtown North Precinct to other DNA evidence obtained
      during the investigation, including “hat scrapings,” and finding that the source of the
      DNA on the cup was “most likely [the] major donor” of the DNA from the hat scrapings.
      (See Dkt. #109-1 at 5-8).


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      In the course of his investigation on January 11, Detective Criollo

received several corroborating reports of a black male on crutches exiting 403

West 44th Street. Specifically, another officer reported that while Criollo was at

405 West 44th, the officer “observed a black male on crutches” exit 403 West

44th Street. (Def. 56.1 ¶ 38). Mayor’s Office Investigator George Tsatsaronis

also reported observing “a black male with a goatee, on what appeared to be

one crutch, exit 403 West 44th Street.” (Id. at ¶ 40).

              e.   January 11, 2012 Burglary at 319 West 47th Street

      Police also received reports of a third burglary in the area on January 11,

2012: The resident of an apartment at 319 West 47th Street reported that

upon returning to his apartment, and in similar fashion to the other burglaries,

he found a rear window open. (Def. 56.1 ¶¶ 41-42). He noted further that a

Nikon camera, a Nikon camera lens, a JVC camcorder, and a camera bag had

been stolen from the apartment. (Id. at ¶ 43).

              f.   January 20, 2012 Burglaries at 407 West 50th Street

      One week later, on January 20, 2012, the NYPD received three

complaints from residents of apartments at 407 West 50th Street, reporting

burglaries of their respective apartments on January 19, 2012. (Def. 56.1

¶¶ 44, 48, 53; see DeCastro Decl., Ex. S, T). The first victim reported that he

returned to the apartment to find a window over his fire escape open and that

several personal items were missing, including a Mac Laptop. (Def. 56.1

¶¶ 45-47). The second victim reported that she returned to her apartment to

find her door chain-locked from within and the window above her fire escape


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open. (Id. at ¶¶ 49-50). She initially reported that jewelry was missing from

her apartment, and later reported that an Apple iPod was also missing. (Id. at

¶¶ 51-52). The third victim reported that he returned to his apartment to find

a window open and a Mac Laptop missing. (Id. at ¶¶ 54-55).

              g.   January 24, 2012 Burglary at 947 Amsterdam Avenue

      On January 24, 2012, the resident of an apartment at 947 Amsterdam

Avenue reported to police that he returned to the apartment to find a candle on

his living room windowsill knocked to the floor. (Def. 56.1 ¶ 56). He also

reported that various items were missing from the apartment, including a Mac

Laptop and iPad. (Id. at ¶ 57). The victim informed Detective Criollo that the

“Find My [iP]hone” feature of his laptop had located his computer in the area of

581 Glenmore Avenue, in Brooklyn; this address was approximately 174 feet

from 571 Glenmore Avenue, the address of a halfway house at which Plaintiff

then resided. (See id. at ¶¶ 58-60).

      2.    The Continued Investigation and Plaintiff’s Arrest

            a.     The Dissemination of the Police Sketch

      On January 24, 2012, the NYPD created a sketch of the individual

suspected of committing the January 11, 2012 burglaries, based on witness

descriptions of the individual they observed exiting 403 West 44th Street. (Def.

56.1 ¶ 61). The sketch became a wanted poster that was distributed to various

NYPD Precincts, and the following day, Lieutenant Seamus McHugh of the 77th

Precinct, located in Brooklyn, informed Lieutenant Felix Rivera that a detective

in his precinct had stopped an individual resembling the sketch. (Id. at


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¶¶ 62-63). That individual was Plaintiff, who at the time was on parole and

sharing a room with three roommates at the halfway house at 571 Glenmore

Avenue. (Id. at ¶¶ 64-68).

      Armed with this information, on January 25, 2012, at approximately

10:45 p.m., Detective Gregory Thornton and Lieutenant Rivera, along with

non-party Detective Robert Hahn, appeared at 571 Glenmore Avenue and

received consent from the halfway house manager to enter the residence. (Def.

56.1 ¶¶ 69-71). The manager led Detectives Thornton and Hahn to Plaintiff’s

second-floor room, where Detective Hahn observed Plaintiff sitting on the bed

“using one of the computers that was reported as stolen.” (Id. at ¶¶ 72-73).

Hahn also observed other electronics in the room and Plaintiff’s crutches. (Id.

at ¶ 74).

               b.    Plaintiff’s Questioning and Arrest

      Plaintiff was then transported to the Midtown North Precinct for

questioning. (Def. 56.1 ¶ 75). 6 Plaintiff contends that his questioning at the

Midtown North Precinct lasted “16 hours and 15 minutes,” during which the

police deprived Plaintiff of blood pressure and psychiatric medication, water,

and the use of a toilet. (Pl. 56.1 ¶ 4; see Pl. Br. ¶¶ 25, 67, 86). 7 He further


6     The record is unclear as to whether Plaintiff was placed immediately under arrest, or
      whether Plaintiff voluntarily accompanied the police to Midtown North. (Compare
      DeCastro Decl., Ex. DD, at ¶ 11; Ex. EE, at ¶ 11 (“Plaintiff … agreed to go to the
      Midtown North Precinct for questioning.”), with Pl. Dep. 154:4-11 (stating Detective
      Thornton “was one of the detectives that escorted [Plaintiff] out of the location …
      handcuffed and placed [Plaintiff] in the back of the police car”)).
7     Plaintiff also asserts that he was arrested and taken to the Midtown North Precinct on
      January 27, 2012, rather than January 25, 2012. (See Pl. 56.1 ¶¶ 1-3). The record
      belies this timeline. (See, e.g., DeCastro Decl., Ex. DD, at ¶¶ 7-11; Ex. EE, at ¶¶ 2-11;
      Ex. FF, at ¶ 9).


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maintains that Defendants sought to deprive Plaintiff of these necessities in

order to force him to drink water from a white styrofoam cup, from which the

officers then retrieved a sample of his DNA to compare with samples from

unsolved burglaries, “which y[i]elded a neg[a]tive result.” (Pl. 56.1 ¶ 6; see Pl.

Br. ¶¶ 82-84). More importantly, Plaintiff contends that this deprivation

caused him to develop Renal Insufficiency Syndrome, which was diagnosed

during his stay at Rikers Island in July 2012. (See Pl. Br. ¶¶ 26, 28, 67).

      On January 26, 2012, Plaintiff was placed in a lineup, and the resident

of 403 West 44th Street who had encountered a burglar in his apartment

identified Plaintiff as the burglar. (Def. 56.1 ¶ 76). On that same date,

Detective Hahn acquired a search warrant for Plaintiff’s room at 571 Glenmore

Avenue; Detectives Thornton, Rivera, and Adam Sager executed the warrant at

approximately 6:00 p.m. (Id. at ¶¶ 77-78). In Plaintiff’s room, the detectives

located the following stolen items, identified by serial number: the Mac laptop

from the 409 West 48th Street burglary; two Mac laptops from the 407 West

50th Street burglary; the iPod from the 407 West 50th Street burglary; and the

Mac laptop from the 947 Amsterdam Avenue burglary. (Id. at ¶¶ 79-83). All

items but the first were located under Plaintiff’s bed. (See id.).

      While at the Midtown North Precinct from January 26 to January 27,

2012, Plaintiff was arrested and charged with nine burglaries. (See Def. 56.1

¶ 84; see also DeCastro Decl., Ex. B). On January 27, 2012, Officer Steven

Mikolanda transported Plaintiff to Bellevue Hospital for medical clearance

because the police planned to voucher his crutches as evidence. (Def. 56.1


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¶ 86). Medical records from Plaintiff’s visit to Bellevue show that he related to

medical personnel complaints of pain in his right knee and left hip, as well as

Post-Traumatic Stress Disorder and anxiety. (See DeCastro Decl., Ex. KK).

Plaintiff asserts that, “[a]fter the arrest, [he] didn’t have access to high blood

pressure medication until four days later when [he] was screened and

processed in the Department of Corrections.” (Pl. Dep. 111:6-18).

             c.    Defendants’ Allegedly Violative Conduct

      The parties vigorously dispute the identities and conduct of the police

personnel who interacted with Plaintiff during his time at the Midtown North

Precinct. For his part, Plaintiff recalled that Detective Thornton transported

him to the interrogation room “and refused to provide [Plaintiff] with water or

medication or toilet” despite the latter’s requests. (Pl. Dep. 154:8-9). He also

claims that Detective Sager brought him to the precinct, conducted the lineup,

and “was made aware that [Plaintiff] was in need of toileting” and had high

blood pressure. (Id. at 154:13-21).

      Plaintiff testified that while he was detained at Midtown North, Detective

Meehan told Plaintiff that he would be questioned, at which point Plaintiff “said

to [Meehan] that [Plaintiff was] off [his] medication,” and that he “suffer[ed]

from high blood pressure.” (Pl. Dep. 62:7-22). Plaintiff contends that Meehan

responded, “I’m going to question you,” which prompted Plaintiff to refuse to

answer questions and request a lawyer. (Id. at 62:16-25). Plaintiff contends

further that after he was placed in the lineup, he returned to detention “for

some time,” during which “Detective Criollo stepped in and asked if [Plaintiff]


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was alright,” and in response to which Plaintiff, unsuccessfully, requested

water and the use of a toilet. (Id. at 65:12-25). Plaintiff testified that Detective

Meehan appeared again a short time later, at which point plaintiff requested

the use of a toilet and his medication, to which Meehan responded, “I don’t

know about the medication.” (Id. at 65:20-21). Finally, Plaintiff claims that

while Officer Mikolanda transported Plaintiff to Bellevue Hospital, he denied

Plaintiff medication and water. (Id. at 154:22-155:2).

      Defendants proffer markedly different recollections of events. Detective

Thornton admits to investigating Plaintiff’s residence at 571 Glenmore Avenue

before Plaintiff traveled to Midtown North for questioning, but claims he “never

deprived” Plaintiff of water or the use of a bathroom “at any point in time

during which [P]laintiff was at” the Precinct. (DeCastro Decl., Ex. EE, at

¶¶ 16-17). Detective Meehan goes even further, asserting that “[a]t no point

during January 25, 2012, through January 27, 2012, did [he] have any

interactions with [P]laintiff.” (DeCastro Decl., Ex. D, at ¶ 14). Instead, Meehan

states that his sole role in Plaintiff’s case was gathering evidence related to the

burglary reports and processing the arrest for one of the burglaries at the

Midtown South Precinct. (See id. at ¶¶ 2-9, 13). And although Detective Criollo

admits that he arrested Plaintiff at the Midtown North Precinct after one of the

burglary victims identified Plaintiff in the lineup, Criollo states that he “never

deprived [P]laintiff of water” nor the “use of a bathroom,” and that “[P]laintiff




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never asked [him] for any medication at any point in time during” his stay at

Midtown North. (DeCastro Decl., Ex. J, at ¶¶ 23-27, 30-33). 8

      3.     Plaintiff’s Criminal Prosecution

      On or about January 27, 2012, Detective Criollo filed a criminal

complaint in the Criminal Court of the City of New York, New York County,

charging Plaintiff with nine counts of Second Degree Burglary and eight counts

of Fifth Degree Criminal Possession of Stolen Property. (See DeCastro Decl.,

Ex. LL). On or about February 1, 2012, a grand jury in the same court indicted

Plaintiff. (Def. 56.1 ¶ 95). Over 21 months later, on November 14, 2013, the

charges against Plaintiff were dismissed. (Id. at ¶ 96).

B.    Procedural History

      Plaintiff, proceeding pro se, filed the Complaint in this action on

August 4, 2014. (See Dkt. #1). On September 17, 2014, the Court dismissed

certain defendants from the case because Plaintiff did not sufficiently allege

their requisite personal involvement in the underlying events. (Dkt. #6). The

Court also dismissed claims against the NYPD and the City of New York, as

well as the prosecutors involved in Plaintiff’s criminal case. (Id.).

      On June 2, 2017, after the parties had completed discovery, Plaintiff

moved for summary judgment. (Dkt. #109). On July 17, 2017, Defendants


8     Plaintiff did not testify specifically that Detective Rivera denied him medical treatment,
      but claimed instead that in his “supervisory capacity,” Rivera “directed … Mikolanda to
      confiscate [Plaintiff’s] crutches” and “was involved in all levels of the investigation.” (Pl.
      Dep. 153:21-154:1). Rivera admits to having a supervisory role in the investigation, but
      similarly denies depriving Plaintiff of water or the use of a bathroom, and states that he
      “never recovered any medication from [Plaintiff” and “Plaintiff never asked [Rivera] for
      any medication at any point in time during which [P]laintiff was at the Midtown North
      Precinct.” (DeCastro Decl., Ex. DD, at ¶¶ 19-22).


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opposed Plaintiff’s summary judgment motion and cross-moved for summary

judgment. (Dkt. #118-123). On October 13, 2017, Plaintiff replied to

Defendants’ cross-motion (Dkt. #129), and on November 17, 2017, Defendants

filed a reply memorandum of law in support of their motion for summary

judgment (Dkt. #137).

                                  DISCUSSION

A.    Applicable Law

      1.    Motions for Summary Judgment

      Federal Rule of Civil Procedure 56(a) provides that a “court shall grant

summary judgment if the movant shows that there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.”

Fed. R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322-23

(1986); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). A

genuine dispute exists where “the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.” Fireman’s Fund Ins. Co. v. Great Am.

Ins. Co. of N.Y., 822 F.3d 620, 631 n.12 (2d Cir. 2016) (internal quotation

marks and citation omitted). A fact is “material” if it “might affect the outcome

of the suit under the governing law.” Anderson, 477 U.S. at 248. “When ruling

on a summary judgment motion, the district court must construe the facts in

the light most favorable to the non-moving party and must resolve all

ambiguities and draw all reasonable inferences against the movant.” Dallas

Aerospace, Inc. v. CIS Air Corp., 352 F.3d 775, 780 (2d Cir. 2003) (citation

omitted). And where, as here, “parties file cross-motions for summary



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judgment, each party’s motion must be examined on its own merits, and in

each case all reasonable inferences must be drawn against the party whose

motion is under consideration.” Fireman’s Fund Ins. Co., 822 F.3d at 631 n.12

(alterations omitted) (quoting Morales v. Quintel Entm’t, Inc., 249 F.3d 115, 121

(2d Cir. 2001)).

      2.     Motions for Summary Judgment in Pro Se Cases

      In a pro se case, the court must take an additional step and liberally

construe the pro se party’s pleadings “to raise the strongest arguments that

they suggest.” McPherson v. Coombe, 174 F.3d 276, 280 (2d Cir. 1999)

(quoting Burgos v. Hopkins, 14 F.3d 787, 790 (2d Cir. 1994)).

      This task has been complicated by Plaintiff’s imperfect compliance with

Local Rule 56.1. Under that rule, a movant is required to identify admissible

evidence in support of each factual assertion in his or her Rule 56.1 statement.

See S.D.N.Y. Local Rule 56.1(d) (“Each statement by the movant … pursuant to

Rule 56.1(a) … must be followed by citation to evidence which would be

admissible, set forth as required by Fed. R. Civ. P. 56(c).”). Conversely, a

non-movant seeking to controvert these factual assertions must also cite to

admissible evidence, and where properly-supported facts in a Rule 56.1

Statement are denied with only conclusory assertions, the court will find such

facts to be true. See id.; id. at 56.1(c) (“Each numbered paragraph in the

statement of material facts set forth in the statement required to be served by

the moving party will be deemed to be admitted for purposes of the motion




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unless specifically controverted by a correspondingly numbered paragraph in

the statement required to be served by the opposing party.”).

      “Pro se litigants are … not excused from meeting the requirements of

Local Rule 56.1.” Wali v. One Source Co., 678 F. Supp. 2d 170, 178 (S.D.N.Y.

2009) (citing Vt. Teddy Bear v. 1-800-BEARGRAM Co., 373 F.3d 241, 246 (2d

Cir. 2004)). Nevertheless, even where there is incomplete compliance with the

Local Rules, a court retains discretion “to consider the substance of the

plaintiff’s arguments.” Id. (citing Holtz v. Rockefeller & Co., 258 F.3d 62, 73 (2d

Cir. 2001) (“[W]hile a court is not required to consider what the parties fail to

point out in their Local Rule 56.1 Statements, it may in its discretion opt to

conduct an assiduous review of the record even where one of the parties has

failed to file such a statement.” (internal quotation marks omitted))); see also

Hayes v. Cty. of Sullivan, 853 F. Supp. 2d 400, 406 n.1 (S.D.N.Y. 2012) (“In

light of Plaintiff’s pro se status, the Court overlooks his failure to file a Local

Rule 56.1 Statement and conducts its own independent review of the record.”).

      Plaintiff’s opening submission comprises a collection of assertions, both

factual and legal, made under oath; a supporting memorandum of law; and

various excerpts from transcripts of court conferences, pleadings, discovery

responses of the parties, and documentary evidence. (Dkt. #109). His

proffered Rule 56.1 Statement, however, is only two pages long and lacks any

citations to admissible evidence in this case. Similarly, Plaintiff’s combined

reply brief and opposition to Defendants’ cross-motion for summary judgment

comprises largely conclusory retorts to Defendants’ Rule 56.1 Statement, along


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with a list of additional exhibits, not all of which were produced (and, thus, not

all of which are available to the Court). 9 Defendants urge the Court to deny

Plaintiff’s motion for summary judgment based on his failure to comply with

Local Rule 56.1. While the Court understands Defendants’ frustration with

Plaintiff’s mode of arguing his claims, it also understands the difficulties

Plaintiff experiences as a pro se litigant. It therefore has overlooked his failure

to comply with Local Rule 56.1, and has instead conducted a searching review

of the record.

      A word is in order, however, about what the Court has and has not

considered among Plaintiff’s submissions. In addition to Plaintiff’s

affirmations, the Court has also construed the allegations of Plaintiff’s

Complaint to be assertions of fact made under oath, and has taken as true the

well-pleaded allegations therein. However, the Court has not taken as true any

legal conclusions contained in Plaintiff’s sworn statements, such as his

assertions that certain conduct amounted to a violation of his constitutional

rights, or that Defendants lacked probable cause to engage in certain conduct.

Additionally, the Court has rejected certain factual assertions that are wholly

belied by the record in this case, including, for example, Plaintiff’s statements

about his arrest date. Finally, the Court will not consider statements or




9     In places, Plaintiff suggests that a particular Defendant’s failure to respond to his
      motion warrants entry of a default judgment as to that Defendant. (See, e.g., Pl. Reply
      ¶¶ 13-14). This is incorrect, as Defendants jointly responded to Plaintiff’s motion and
      jointly cross-moved for summary judgment in their favor. (See Dkt. #118-123).


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arguments that were more appropriately made in Plaintiff’s now-dismissed

criminal case.

      3.     Civil Rights Claims Under 42 U.S.C. § 1983

      Plaintiff’s mode of argument has also impacted the manner in which the

Court and Defendants have construed his claims. (See Def. Br. 1 n.2 (detailing

confusion concerning what claims Plaintiff was raising)). Plaintiff’s Complaint,

read liberally, initially suggested claims of warrantless searches and seizures,

false arrest, and malicious prosecution, in violation of the Fourth Amendment

(and, as to certain claims, the Fifth Amendment), as well as claims relating to

his conditions of confinement, properly considered under the Fourteenth

Amendment. 10 Plaintiff’s opening brief, however, seeks summary judgment

only as to his claim that Defendants were deliberately indifferent to his medical

needs, in violation of the Fourteenth Amendment. What is unclear from

Plaintiff’s motion is whether he is moving for summary judgment on one of

several claims of constitutional violations, thereby leaving the others for

resolution at trial, or whether his Complaint should be construed to pursue

only a single claim of deliberate indifference. The confusion was not clarified in

Plaintiff’s reply submission, which focuses on his deliberate indifference claim

while offering brief rebuttals to Defendants’ arguments for summary judgment

on the other claims. The Court will assume that Plaintiff has raised claims for



10    Plaintiff mistakenly argues that his conditions of confinement claims arise under the
      Eighth Amendment. See Darnell v. Pineiro, 849 F.3d 17, 29 (2d Cir. 2017) (“A pretrial
      detainee’s claims ... are governed by the Due Process Clause of the Fourteenth
      Amendment[.]”).


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false arrest, improper search and seizure, malicious prosecution, and

deliberate indifference, and evaluate each of them under 42 U.S.C. § 1983. 11

      Section 1983 provides a remedy when a state actor deprives a plaintiff of

federally protected rights, including rights provided by the Fourth and

Fourteenth Amendments. See 42 U.S.C. § 1983; see also City of Okla. City v.

Tuttle, 471 U.S. 808, 816 (1985) (“By its terms, of course, [§ 1983] creates no

substantive rights; it merely provides remedies for deprivations of rights

established elsewhere.”). “The purpose of § 1983 is to deter state actors from

using the badge of their authority to deprive individuals of their federally

guaranteed rights and to provide relief to victims if such deterrence fails.”

Wyatt v. Cole, 504 U.S. 158, 161 (1992).

      “A § 1983 claim has two essential elements: [i] the defendant acted under

color of state law; and [ii] as a result of the defendant’s actions, the plaintiff

suffered a denial of h[is] federal statutory rights, or h[is] constitutional rights or

privileges.” Annis v. Cty. of Westchester, 136 F.3d 239, 245 (2d Cir. 1998); see

also West v. Atkins, 487 U.S. 42, 48 (1988); Flagg Bros., Inc. v. Brooks, 436

U.S. 149, 155-56 (1978)).




11    In the interest of completeness, Defendants have moved for summary judgment as to
      certain claims that might theoretically be discerned from Plaintiff’s pleading, including
      claims for deprivation of property or equal protection violations under 42 U.S.C. § 1983,
      and for conspiracy to violate his civil rights under 42 U.S.C. § 1985. To the extent that
      such claims were in fact made, the Court rejects them for substantially the reasons set
      forth in Points VII and VIII, and the second Point IX, of Defendants’ memorandum of
      law in support of their motion. Additionally, the Court does not understand Plaintiff to
      be raising state-law claims in his Complaint, and will not address any here.


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      4.     Qualified Immunity

      Even were the Court to find that one or more Defendants violated

Plaintiff’s constitutional rights, liability under § 1983 might be foreclosed under

the doctrine of qualified immunity.

      “Qualified immunity is an affirmative defense that shields government

officials from liability for civil damages insofar as their conduct does not violate

clearly established statutory or constitutional rights of which a reasonable

person would have known.” Stephenson v. Doe, 332 F.3d 68, 76 (2d Cir. 2003)

(internal quotation marks and citation omitted); see generally Hassell v.

Fischer, — F.3d —, No. 16-2835(L), 2018 WL 265084, at *3 n.7 (2d Cir. Jan. 3,

2018); Almighty Supreme Born Allah v. Milling, 876 F.3d 48, 58-59 (2d Cir.

2017). Qualified immunity thus hinges on: “[i] whether plaintiff has shown

facts making out a violation of a constitutional right; [ii] if so, whether that

right was ‘clearly established’; and [iii] even if the right was ‘clearly established,’

whether it was ‘objectively reasonable’ for the officer to believe the conduct at

issue was lawful.” Gonzalez v. City of Schenectady, 728 F.3d 149, 154 (2d Cir.

2013) (citing Taravella v. Town of Wolcott, 599 F.3d 129, 133-34 (2d Cir.

2010)).

      For a constitutional right to be “clearly established,” “[t]he contours of

the right must be sufficiently clear that a reasonable official would understand

that what he is doing violates that right.” Anderson v. Creighton, 483 U.S. 635,

640 (1987); see also Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011). “In other

words, existing precedent must have placed the statutory or constitutional


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question beyond debate.” Reichle v. Howards, 566 U.S. 658, 664 (2012)

(internal citation and quotation marks omitted).

      “Even where the plaintiff’s federal rights and the scope of the official’s

permissible conduct are clearly established, the qualified immunity defense

protects a government actor if it was ‘objectively reasonable’ for him to believe

that his actions were lawful at the time of the challenged act.” Lennon v. Miller,

66 F.3d 416, 420 (2d Cir. 1995) (citing Creighton, 483 U.S. at 641). “The

objective reasonableness test is met — and the defendant is entitled to

immunity — if ‘officers of reasonable competence could disagree’ on the legality

of the defendant’s actions.” Id. (citing Malley v. Briggs, 475 U.S. 335, 341

(1986)). Thus, “[q]ualified immunity gives government officials breathing room

to make reasonable but mistaken judgments, and protects all but the plainly

incompetent or those who knowingly violate the law.” Messerschmidt v.

Millender, 565 U.S. 535, 546 (2012) (internal quotation marks and citation

omitted).

B.    Defendants Are Entitled to Summary Judgment on All Claims

      1.     Plaintiff’s Fourth and Fifth Amendment Claims Fail

      The Court discerns several Fourth Amendment claims in Plaintiff’s

Complaint, including allegations that one or more Defendants (i) improperly

entered Plaintiff’s residence to arrest him on January 25, 2012; (ii) improperly

searched his residence on January 26, 2012; (iii) improperly obtained a sample

of Plaintiff’s DNA from a drinking cup he used at the Midtown North Precinct;

and (iv) participated in the malicious prosecution of the Plaintiff. (See, e.g.,



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Compl. ¶ 51 (alleging Defendants “deprive[d] [P]laintiff of [h]is constitutionally

protected interest guaranteed under the Fourth Amendment … to be free from

illegal search and seizure, without probable cause to arrest”); see also, e.g., id.

(complaint headings throughout beginning with “Malicious Prosecution”),

¶¶ 14-20, 51, 54-56, 93-97, 127-31). For the reasons set forth in the

remainder of this section, the claims all fail.

              a.   January 25, 2012 Entrance into Plaintiff’s Residence

      Although “[t]he Fourth Amendment generally prohibits the warrantless

entry of a person’s home, whether to make an arrest or to search for specific

objects,” it does not prohibit such entry where police officers obtain “voluntary

consent … either from the individual whose property is searched or from a

third party who possesses common authority over the premises.” Illinois v.

Rodriguez, 497 U.S. 177, 181 (1990) (internal citations omitted). “[T]he

exception for consent extends even to entries and searches with the permission

of a co-occupant whom the police reasonably, but erroneously, believe to

possess shared authority as an occupant.” Georgia v. Randolph, 547 U.S. 103,

109 (2006).

      Further, although the authority necessary to consent to a police officer’s

residential entry might not extend to a landlord or hotel manager, see Georgia

v. Randolph, 547 U.S. at 112, a parolee living in a halfway house, such as

Plaintiff here, has a diminished expectation of privacy and thus a lessened

Fourth Amendment protection than an average tenant or hotel guest, see

Samson v. California, 547 U.S. 843, 850 (2006) (“[P]arolees have fewer


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expectations of privacy than probationers, because parole is more akin to

imprisonment than probation is to imprisonment.”); cf. United States v.

Amerson, 483 F.3d 73, 84 (2d Cir. 2007) (“Probationers … have diminished —

but far from extinguished — reasonable expectations of privacy.”).

      Here, the manager of Plaintiff’s halfway house consented to Detectives

Thornton and Hahn, and Lieutenant Rivera, entering the halfway house and

guided them to Plaintiff’s shared bedroom on the second floor of the building.

Thus, although the officers did not have a warrant to enter the residence, given

Plaintiff’s lessened expectation of privacy as a parolee, the halfway house

manager’s consent validated their entrance into the halfway house. Cf. United

States v. Reyes, 283 F.3d 446, 457 (2d Cir. 2002) (“It is beyond doubt that

[probationer]’s actual expectation of privacy in the environs of his home was

necessarily and significantly diminished because [he] was … serving a

court-imposed term of federal supervised release that mandated home visits ‘at

any time’ from his federal probation officer.”).

      More fundamentally, the record establishes that Detective Hahn gathered

the inculpatory evidence against Plaintiff by viewing Plaintiff through an open

door sitting on his bed with a reportedly stolen computer alongside other stolen

electronics and his crutches. (See DeCastro Decl., Ex. EE, at ¶ 9 (“Detective

Hahn and [Detective Thornton] encountered [P]laintiff … at the halfway house”

and “observed [him] through an open bedroom door[.]”)). Cf. United States v.

Delva, 858 F.3d 135, 149 (2d Cir. 2017) (“Under the plain-view exception, ‘if

police are lawfully in a position from which they view an object, if its


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incriminating character is immediately apparent, and if the officers have a

lawful right of access to the object, they may seize it without a warrant.”

(quoting Minnesota v. Dickerson, 508 U.S. 366, 375 (1993))). Hahn was

subsequently the affiant for the search warrant of Plaintiff’s residence; he was

not, however, named as a defendant in this case. The record does not establish

that any of the Defendants conducted a warrantless search of Plaintiff’s room

on the evening of January 25, 2012, and “[i]t is well settled in this Circuit that

personal involvement of defendants in alleged constitutional deprivations is a

prerequisite to an award of damages under § 1983.” Farid v. Ellen, 593 F.3d

233, 249 (2d Cir. 2010) (quoting Farrell v. Burke, 449 F.3d 470, 484 (2d Cir.

2006)). Accordingly, the record does not establish a constitutional violation

stemming from Defendants’ entrance into the halfway house and their

observations of Plaintiff on January 25, 2012.

             b.    January 25, 2012 Transport to Midtown North Precinct

      As noted, the record is unclear as to whether the officers formally

arrested Plaintiff on January 25, 2012, or whether he consented to travel to the

Midtown North Precinct for further questioning. See supra note 6. Assuming

for purposes of analysis that Plaintiff was arrested without a warrant

immediately before or after his transportation to the Midtown North Precinct,

there was abundant probable cause for the arrest and no Fourth Amendment

violation.

      A law enforcement officer may effect a warrantless arrest given probable

cause to believe, at the moment of the arrest, that the individual subject to


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arrest has committed a crime. See Devenpeck v. Alford, 543 U.S. 146, 152

(2004); United States v. Llanes, 398 F.2d 880, 883 (2d Cir. 1968). An officer

has probable cause if such belief is founded upon “facts and circumstances

within” the officer’s “knowledge and of which they had reasonably trustworthy

information.” Llanes, 398 F.2d at 883. In the context of an arrest for burglary,

courts have found probable cause based on factors such as a modus operandi

linking the crimes to the defendant, descriptions of the suspect matching the

defendant’s characteristics, and the defendant’s possession of property stolen

during the offense. See, e.g., Wiltshire v. Wanderman, No. 13 Civ. 9169 (CS),

2015 WL 4164808, at *3 (S.D.N.Y. July 10, 2015); Williams v. Carter, No. 7:13

Civ. 382 (DNH), 2014 WL 5361494, at *5 (N.D.N.Y. Oct. 21, 2014).

      Here, assuming arguendo that Plaintiff’s transportation to the Midtown

North Precinct occurred pursuant to an arrest, Defendants would have had

probable cause for same. At that time, they were aware of a string of burglaries

committed in a tightly-circumscribed geographic area by a suspect described

as a black male who used a crutch. In addition to the videos corroborating this

description, Defendants were aware that another officer had identified Plaintiff

as resembling a sketch of the suspect, and that one of the stolen computers

had indicated that it was located near Plaintiff’s address. And any suspicions

the officers may have had at the time they entered the halfway house were

confirmed when Detective Hahn observed Plaintiff sitting on his bed, using a

laptop, surrounded by electronics far too numerous to be for his personal use




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and accompanied by his crutches. Detective Thornton and Lieutenant Rivera

did not falsely arrest Plaintiff.

             c.      Retrieval of the DNA Sample

      Plaintiff spends a substantial portion of his motion papers outlining

various constitutional violations that are alleged to have occurred when

Defendants Criollo and Meehan caused Plaintiff to drink from a cup at the

Midtown North Precinct house and, thereby, leave a DNA sample that could be

compared to DNA recovered from the cap and the knife. (See Pl. Br.; Pl. Reply;

see also Pl. Dep. 153:1-7 (identifying Criollo and Meehan)). The circumstances

under which that DNA was allegedly obtained are discussed later in this

Opinion in the Fourteenth Amendment analysis. Here, the Court focuses on

whether these Defendants violated the Fourth Amendment in obtaining the

DNA sample. It concludes that they did not.

      “The Fourth Amendment does not protect abandoned or voluntarily

discarded property because any expectation of privacy that may have existed

becomes irrelevant the moment it is abandoned.” Anip Patel, The

Constitutionality of DNA Sampling of Arrestees, 13 U. PITT. J. TECH. L. POL’Y 1, 25

(2012). Both the Supreme Court and the Second Circuit are clear on this

point. See, e.g., United States v. Lee, 916 F.2d 814, 818 (2d Cir. 1990) (“When

a person voluntarily abandons property, ... he forfeits any reasonable

expectation of privacy that he might have had in the property.”); United States

v. Levasseur, 816 F.2d 37, 44 (2d Cir. 1987) (“[A] warrantless search or seizure

of abandoned property does not violate the fourth amendment.” (citing Abel v.


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United States, 362 U.S. 217, 240-41 (1960) (“There can be nothing unlawful in

the government’s appropriation of ... abandoned property.”)). Even if Plaintiff

could claim a reasonable expectation of privacy in a drinking cup that was

provided to him by law enforcement during his interrogation — a proposition

the Court highly doubts — any such expectation dissipated when he discarded

the cup after the questioning. 12 There was, therefore, no Fourth Amendment

violation in recovering the cup and obtaining the DNA sample. 13




12    Relatedly, the Supreme Court has upheld state statutes that permit the warrantless
      obtaining of DNA samples from individuals arrested for serious offenses. See Maryland
      v. King, 569 U.S. 435, 465-66 (2013) (upholding provision of Maryland DNA Collection
      Act; “When officers make an arrest supported by probable cause to hold for a serious
      offense and they bring the suspect to the station to be detained in custody, taking and
      analyzing a cheek swab of the arrestee’s DNA is, like fingerprinting and photographing,
      a legitimate police booking procedure that is reasonable under the Fourth
      Amendment.”). And while the New York DNA collection and indexing statute, N.Y. Exec.
      Law § 995, does not address, and thus does not authorize, law enforcement officers to
      obtain DNA samples from arrestees, the language of King suggests that this practice, as
      applied to the particular facts of this case, would not violate the Fourth Amendment.
      In his submissions, Plaintiff suggests that Defendants have violated 42 U.S.C.
      § 14135e, a provision of an earlier version of the federal DNA collection statute. (See Pl.
      Br., Dkt. #109 at 11). Those provisions have been transferred to 34 U.S.C. ch. 407, and
      include provisions for, among other things, the collection and analysis of DNA from
      certain offenders, training in and improvements to DNA technology and research, and
      grants to states to implement DNA collection processes for arrestees. The analogue to
      the provision cited by Plaintiff is 34 U.S.C. § 40706, which criminalizes the use of DNA
      samples obtained pursuant to this chapter for purposes other than those specified in
      this chapter. Because this federal statute was not implicated by the events at issue,
      § 40706 is inapplicable to the DNA sample from the cup.
13    To the extent that Plaintiff is raising a Fifth Amendment challenge to this conduct, it
      also fails. In Schmerber v. California, 384 U.S. 757, 764, 761 (1966), the Supreme
      Court clarified that the Fifth Amendment privilege against self-incrimination does not
      protect a person from being compelled to produce “real or physical evidence,” but rather
      protects against the compulsion of evidence that is “testimonial or communicative [in]
      nature.” Here, because the DNA sample taken from the cup is neither testimonial nor
      communicative in nature, Plaintiff’s Fifth Amendment rights were not violated. See id.
      at 765 (concluding that blood sample was admissible because it “was neither
      petitioner’s testimony nor evidence relating to some communicative act or writing” by
      petitioner); accord Toliver v. Artus, No. 11 Civ. 1051 (MAT), 2013 WL 55692, at *9
      (W.D.N.Y. Jan. 3, 2013).


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            d.     January 26, 2012 Search of the Residence

      The Court next considers the search that Detectives Thornton, Rivera,

and Sager conducted on January 26, 2012, pursuant to the warrant they

obtained on the basis of Detective Hahn’s affidavit. Fourth Amendment

precedent confirms that police may enter a home to execute a valid search

warrant, so long as they operate within the scope of the warrant. See Steagald

v. United States, 451 U.S. 204, 211-12 (1981) (“[W]e have consistently held that

the entry into a home to conduct a search or make an arrest is unreasonable

under the Fourth Amendment unless done pursuant to a warrant.”); Rogers v.

Cartagena, No. 10 Civ. 9285 (JPO), 2013 WL 1285169, at *4 (S.D.N.Y. Mar. 28,

2013) (“No search conducted pursuant to a valid search warrant violates [the

Fourth Amendment], so long as the officers conducting the search do so within

the warrant’s scope.”). To be valid, a warrant must (i) “be issued by [a] neutral,

disinterested magistrate[]”; (ii) be supported by “probable cause to believe that

the evidence sought will aid in a particular apprehension or conviction for a

particular offense”; and (iii) “particularly describe the things to be seized” and

“place to be searched.” Dalia v. United States, 441 U.S. 238, 255 (1979)

(internal quotation marks and citations omitted).

      Here, the record provides no indication that the court issuing the

warrant operated as a “rubber stamp for the police.” United States v.

Ventresca, 380 U.S. 102, 109 (1965). Moreover, Detective Hahn’s affidavit,

submitted in support of the warrant application, provided ample probable

cause for the warrant’s issuance. That affidavit stated that during his


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investigation, Hahn discovered that the suspect of several burglaries between

November 30, 2011, and January 19, 2012, was often “described as a black

male who was using crutches” and that “some of the above incidents,

specifically the entry or exit from [the] buildings, were captured on surveillance

video.” (DeCastro Decl., Ex. FF, at ¶ 7). The affidavit also stated that an Apple

laptop taken from one of the residences contained a tracking device that

indicated that the laptop was located “on Glenmore Avenue near Schenck

Avenue[,] which is less than one block from the target premises.” (Id. at ¶ 8).

Hahn stated that upon visiting the target premises, he observed Plaintiff on the

“lower left bunk” in a bedroom, “using an Apple laptop which had previously

been taken from one of the … residential locations,” that Plaintiff “was using

crutches,” and that Hahn “observed other laptops and electronics involved in

the commission of said crimes.” (Id. at ¶ 9). Finally, the warrant particularly

described the things to be seized — “evidence of proceeds from a string of

burglaries” including electronics, currency, and evidence of ownership — and

the place to be searched, including “the common area” of 571 Glenmore

Avenue, “and the upstairs front bedroom, specifically the lower left bunk

bed … , the area under said bed, the area next to … said bed, the dresser

located on the left of the room, the closet in said room, and the area directly

adjacent to the closet[.]” (DeCastro Decl., Ex. GG).

      Plaintiff has failed to identify any deficiencies in the warrant used to

search his room, and the Court has found none. Accordingly, Detectives




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Thornton, Rivera, and Sager did not violate the Fourth Amendment in

executing the warrant the day after Plaintiff’s arrest.

               e.   Malicious Prosecution

      Throughout his Complaint, Plaintiff uses the term “malicious

prosecution” to connote conduct by Defendants that Plaintiff believes violated

his constitutional rights. The Court has considered, however, whether Plaintiff

has in fact demonstrated a claim for malicious prosecution, and finds that he

has not.

       “In order to prevail on a § 1983 claim against a state actor for malicious

prosecution, a plaintiff must show a violation of his [constitutional] rights … ,

and must establish the elements of a malicious prosecution claim under state

law.” Manganiello v. City of N.Y., 612 F.3d 149, 160-61 (2d Cir. 2010) (internal

citations omitted); See also Rohman v. N.Y.C. Transit Auth., 215 F.3d 208, 215

(2d Cir. 2000). A malicious prosecution claim under New York law, in turn,

requires a plaintiff to prove “[i] the initiation or continuation of a criminal

proceeding against plaintiff; [ii] termination of the proceeding in plaintiff’s

favor; [iii] lack of probable cause for commencing the proceeding; and

[iv] actual malice as a motivation for defendant’s actions.” Manganiello, 612

F.3d at 161.

      For all of the reasons discussed in this Opinion, Plaintiff has not raised a

genuine dispute of material fact concerning any of his alleged constitutional

violations. Likewise, however, Plaintiff has failed to raise a triable dispute

concerning the elements of malicious prosecution under state law. First, the


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record does not establish that Defendants initiated a criminal proceeding

against Plaintiff. Police officers, such as the named Defendants here, “do not

generally ‘commence or continue’ criminal proceedings,” but a malicious

prosecution claim “can still be maintained against a police officer if the officer

is found to ‘play an active role in the prosecution’” such as by “generat[ing]

witness statements or … regularly [remaining] in touch with the prosecutor

regarding the case.” Bermudez v. City of N.Y., 790 F.3d 368, 377 (2d Cir. 2015)

(alterations and citations omitted).

      Put somewhat differently, “[b]ecause there is a presumption that

prosecutors exercise independent judgment in deciding whether to pursue a

prosecution, plaintiff must demonstrate that defendant ‘distorted the process

by which plaintiff was brought to trial.’” Bazemore v. City of N.Y., No. 12 Civ.

5088 (KBF), 2016 WL 1449746, at *5 (S.D.N.Y. Apr. 12, 2016) (quoting Bailey

v. City of N.Y., 79 F. Supp. 3d 424, 449 (E.D.N.Y. 2015)) (citing Townes v. City

of N.Y., 176 F.3d 138, 147 (2d Cir. 1999)). No such evidence has been

presented in this case. Although Detective Criollo signed the criminal

complaint against Plaintiff charging him with burglary (see DeCastro Decl.,

Ex. LL), the record is bereft of facts concerning any Defendant’s further

involvement in Plaintiff’s prosecution, much less any improper conduct that

could sustain a claim of malicious prosecution.

      Second, Plaintiff’s malicious prosecution claim fails for much the same

reasons that Plaintiff’s Fourth Amendment claim fails: As in the Fourth

Amendment context, probable cause is a complete defense to malicious


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prosecution. Harper v. City of N.Y., No. 11 Civ. 4333 (CM), 2013 WL 432599, at

*3 (S.D.N.Y. Jan. 31, 2013); see generally Stansbury v. Wertman, 721 F.3d 84,

95 (2d Cir. 2013) (observing that “[t]he probable cause standard in the

malicious prosecution context is slightly higher than the standard for false

arrest cases” (citing Boyd v. City of N.Y., 336 F.3d 72, 76 (2d Cir. 2003)). “One

need not be certain of the outcome of a criminal proceeding to have probable

cause for instituting such action. Rather, ‘[p]robable cause consists of such

facts and circumstances as would lead a reasonably prudent person in like

circumstances to believe plaintiff guilty.’” Cox v. Cty. of Suffolk, 827 F. Supp.

935, 938 (E.D.N.Y. 1993) (quoting Colon v. City of N.Y., 60 N.Y.2d 78, 82

(1983)).

      “[U]nder New York law, indictment by a grand jury creates a presumption

of probable cause that may only be rebutted by evidence that the indictment

was procured by ‘fraud, perjury, the suppression of evidence or other police

conduct undertaken in bad faith.’” Dufort v. City of N.Y., 874 F.3d 338, 352 (2d

Cir. 2017) (internal citations omitted). That burden lies squarely on Plaintiff,

and he has not discharged it. Plaintiff presents no new facts that would have

invalidated his prosecution, and as discussed above, the probable cause

supporting his arrest was plentiful. Indeed, the positive identification by a

victim during a lineup alone would have sufficed to establish probable cause.

See Keith v. City of N.Y., 641 F. App’x 63, 67 (2d Cir. 2016) (summary order)

(finding probable cause where victim positively identified suspect after seeing

him in neighborhood and again during lineup, and noting, “information from


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an identified citizen accusing another individual of the commission of a specific

crime is [generally still] sufficient to provide the police with probable cause”

(quoting Okunubi v. City of N.Y., 971 N.Y.S.2d 338, 340 (2d Dep’t 2013))); Smith

v. City of N.Y., 388 F. Supp. 2d 179, 187 (S.D.N.Y. 2005) (finding probable

cause where investigator relied on victim’s description of defendant and other

officer’s descriptions of alleged crime).

      Third, the record contains simply no evidence that Defendants acted with

actual malice. In the malicious prosecution context, the element of actual

malice requires proof “that the defendant must have commenced the prior

criminal proceeding due to a wrong or improper motive, something other than a

desire to see the ends of justice served.” Cox, 827 F. Supp. at 940 (quoting

Nardelli v. Stamberg, 44 N.Y.2d 500, 503 (1978)); accord Smith, 388 F. Supp.

2d at 187. Given the surfeit of evidence against Plaintiff that, even now, he

fails to refute — including witness identification, discovery of stolen goods in

his room, and electronic indications from at least one stolen item that it was in

the vicinity of his residence — Plaintiff cannot plausibly argue that Defendants

acted with the requisite malice in pursuing his prosecution.

      There is no viable malicious prosecution claim on these facts. More to

the point, Plaintiff has failed to identify a genuine dispute of material fact as to

any of his Fourth or Fifth Amendment claims. Summary judgment is therefore

warranted in favor of Defendants on these claims.




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      2.     Plaintiff’s Fourteenth Amendment Claim Fails

      Plaintiff’s allegations concerning his interview at Midtown North can also

fairly be read to allege a claim under the Fourteenth Amendment: Plaintiff

contends that during his detention there, Defendants were deliberately

indifferent to Plaintiff’s medical conditions, which indifference resulted in his

later diagnosis of Renal Insufficiency Syndrome. (See, e.g., Pl. Br. ¶¶ 25,

41-45). Although the Court is keenly aware of the importance of medical

treatment for those in police custody, it finds that Plaintiff has not identified a

genuine dispute of material fact in this regard, and that Defendants are

entitled to summary judgment.

      Before analyzing Plaintiff’s claim, the Court pauses to define and

contextualize it. Plaintiff argues that Defendants deliberately deprived him of

water, medication, or toileting opportunities at the precinct house, in order to

trick him into providing a DNA sample when he drank from the cup that was

eventually provided to him. Such trickery, even if true, does not a due process

violation make. See Okin v. Vill. of Cornwall-On-Hudson Police Dep’t, 577 F.3d

415, 431 (2d Cir. 2009) (“To establish a violation of substantive due process

rights, a plaintiff must demonstrate that the state action was so egregious, so

outrageous, that it may fairly be said to shock the contemporary conscience.”

(internal quotation marks and citation omitted)); cf. Illinois v. Perkins, 496 U.S.

292, 297 (1990) (“Miranda forbids coercion, not mere strategic deception by

taking advantage of a suspect’s misplaced trust” in law enforcement). What is

more, Plaintiff’s argument collapses of its own illogic: If Defendants were so


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singularly focused on obtaining a DNA sample from Plaintiff, they would have

been only too eager to offer him a beverage (for obvious reasons) or his

medication (which would have required Plaintiff to drink something), and there

would have been no reason for Defendants to be antagonistic to Plaintiff’s

bathroom breaks. However, the Court will put these obvious logical fallacies to

the side, and will construe Plaintiff’s arguments with all the strength that the

record permits.

            a.     Applicable Law

      Courts in the Second Circuit analyze a pretrial detainee’s claims of

unconstitutional conditions of confinement, such as inadequate medical care,

under the Fourteenth Amendment’s Due Process Clause rather than the Eighth

Amendment’s Cruel and Unusual Punishment Clause. Darnell v. Pineiro, 849

F.3d 17, 29 (2d Cir. 2017). Nevertheless, “[a] detainee’s rights are ‘at least as

great as the Eighth Amendment protections available to a convicted prisoner.”

Id. (quoting City of Revere v. Mass. Gen. Hosp., 463 U.S. 239, 244 (1983)). A

claim for inadequate medical care requires a showing of “deliberate indifference

to … serious medical needs,” which in turn requires proof of two elements:

“medical need” and “deliberate indifference.” Smith v. Carpenter, 316 F.3d 178,

183-84 (2d Cir. 2003).

      The first element, “medical need,” is objective, measuring “the severity of

the alleged deprivation.” Smith, 316 F.3d at 183-84. Courts assessing this

prong “examine how the offending conduct is inadequate and what harm, if

any, the inadequacy has caused or will likely cause” the plaintiff. Salahuddin


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v. Goord, 467 F.3d 263, 280 (2d Cir. 2006). Factors informing this analysis

include “[i] whether a reasonable doctor or patient would perceive the medical

need in question as ‘important and worthy of comment or treatment,’

[ii] whether the medical condition significantly affects daily activities, and

[iii] ‘the existence of chronic and substantial pain.’” Brock v. Wright, 315 F.3d

158, 162 (2d Cir. 2003) (quoting Chance v. Armstrong, 143 F.3d 698, 702 (2d

Cir. 1998)). In addition, “the actual medical consequences that flow from the

alleged denial of care will be highly relevant[.]” Smith, 316 F.3d at 187.

      The Second Circuit has recently clarified that the second element,

“deliberate indifference,” though often characterized as “subjective,” is better

understood as an element simply analyzing mens rea because it is “defined

objectively.” Darnell, 849 F.3d at 29, 35. Indeed, this element requires proof

that the defendant “acted intentionally to impose the alleged condition, or

recklessly failed to act with reasonable care to mitigate the risk that the

condition posed to the pretrial detainee even though the defendant[] knew, or

should have known, that the condition posed an excessive risk to health or

safety.” Id. at 35. This standard therefore does not encompass “an inadvertent

failure to provide adequate medical care.” Estelle v. Gamble, 429 U.S. 97,

105-06 (1976).

             b.    Discussion

      Even viewing the facts in Plaintiff’s favor, the Court cannot say that

Defendants were deliberately indifferent to Plaintiff’s medical needs. Neither

Plaintiff’s blood pressure nor his psychological conditions were sufficiently


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serious to mandate immediate medical attention by Defendants on pain of

constitutional violation. And even if they were so serious, Defendants neither

intentionally nor recklessly failed to tend to Plaintiff’s medical conditions.

      First, considering the severity of the alleged deprivation in the context of

the surrounding circumstances, neither Plaintiff’s blood pressure nor his

psychological conditions were sufficiently serious to require the officers at

Midtown North to render immediate medical care to Plaintiff. Courts have

come to differing conclusions as to whether high blood pressure is a serious

medical condition, see Lozada v. City of N.Y., No. 12 Civ. 38 (ILG) (JMA), 2013

WL 3934998, at *6 (E.D.N.Y. July 29, 2013) (comparing cases); but the record

here does not suggest that Plaintiff’s condition posed any potential for

immediate harm if he went without blood pressure medication while at

Midtown North.

      Tellingly, Plaintiff’s own actions make plain that he was not terribly

concerned — and thus that Defendants were justified in not being concerned —

about his blood pressure during that period. Plaintiff had elected not to take

his blood pressure medication since the morning of the day before his arrest.

(See Pl. Dep. 62:7-15). And, despite Plaintiff’s recollection that he informed

medical professionals at Bellevue of his blood pressure condition (see Pl.

Dep. 79:20-22), the medical records make clear that the only medical issues

Plaintiff reported were injuries to his right knee, left hip, and lower lumbar

spine, and diagnoses of post-traumatic stress disorder and anxiety. (See

DeCastro Decl., Ex. KK). Similarly, when discussing prescriptions with


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Bellevue personnel, Plaintiff only reported taking Vicodin and Prozac; a

member of the psychiatric department who noted his Post-Traumatic Stress

Disorder thus prescribed him a dose of Klonopin before his discharge. (See id.).

In short, there can be no dispute that Plaintiff informed anyone at Bellevue of a

serious blood pressure condition or an urgent need for medication. Cf. Davis v.

Klein, No. 11 Civ. 4868 (ENV), 2013 WL 5780475, at *4 (E.D.N.Y. Oct. 25,

2013) (“[N]o reasonable jury could credit plaintiff’s account” of his injuries from

an arrest “where undisputed medical records directly and irrefutably

contradict[ed] plaintiff’s description[.]” (citing Bove v. City of N.Y., 98 Civ. 8800

(HB), 1999 WL 595620 at *6 (S.D.N.Y. 1999)).

      And with respect to Plaintiff’s mental health issues, the Court does not

doubt that Plaintiff suffers from such conditions. But the record does not show

that Plaintiff presented symptoms or complaints of such conditions to a degree

that presented the potential for further harm or debility. See Bellotto v. Cty. of

Orange, 248 F. App’x 232, 237 (2d Cir. 2007) (summary order) (finding that

county jail was not deliberately indifferent to inmate’s medical needs where

“the only medical consequence he alleges was an anxiety attack, which …

resulted in no physical injuries and ‘no acute distress’”); cf. Covington v.

Westchester Cty. Dep’t of Corr., No. 06 Civ. 5369 (WHP), 2010 WL 572125, at *6

(S.D.N.Y. Jan. 25, 2010) (“[C]ourts [have found] that depression with suicidal

ideation or severe anxiety attacks are sufficiently severe conditions to meet the

objective element of the deliberate indifference standard.” (emphasis added));

Zimmerman v. Burge, No. 9:06 Civ. 0176 (GLS) (GHL), 2009 WL 3111429, at *8


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(N.D.N.Y. Sept. 24, 2009) (collecting cases for the proposition that

psychological conditions may be sufficiently serious if numerous or coupled

with suicidal ideation or severe anxiety). In short, the record does not establish

that Plaintiff’s blood pressure or psychological conditions were sufficiently

acute to raise a genuine dispute of fact on the “medical need” prong of the

deliberate indifference analysis.

      And even if Plaintiff’s conditions were sufficiently serious, the record is

clear that Defendants did not intentionally or recklessly place Plaintiff in a

position of “excessive risk to health or safety.” Darnell, 849 F.3d at 35.

Plaintiff testified that he did not receive his blood pressure medication until

four days after his arrest “when [he] was screened and processed in the

Department of Corrections.” (Pl. Dep. 111:15-18). Because, even crediting

Plaintiff’s recitation of events, Defendants interacted with Plaintiff only for a

matter of hours, no jury could find that Defendants caused or contributed to

the worsening of Plaintiff’s condition or his developing Renal Insufficiency

Syndrome. Cf. Bilal v. White, 494 F. App’x 143, 145-46 (2d Cir. 2012)

(summary order) (“Although epilepsy and arthritis arguably are serious

underlying conditions, the record … demonstrates a temporary delay or

interruption in the provision of otherwise adequate medical treatment for those

ailments lasting only a few hours. Even assuming that [Plaintiff]’s conditions

could produce serious complications if neglected over sufficient time, there is

no evidence that [Plaintiff]’s conditions worsened over the hours of delay here.”

(internal citations omitted)). Indeed, given Plaintiff’s decision to not take his


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blood pressure medication for more than a day prior to his arrest, the delay in

receiving blood pressure medication can be laid largely at his feet. See Buffaloe

v. Fein, No. 12 Civ. 9469 (GBD) (AJP), 2014 WL 1224446, at *3 (S.D.N.Y.

Mar. 20, 2014) (holding plaintiff did not prove deliberate indifference as to

heart and back conditions where he “contributed to his own condition by

refusing meals”); Ross v. Kelly, 784 F. Supp. 35, 46-47 (W.D.N.Y.) (holding that

plaintiff did not prove deliberate indifference where plaintiff was “largely to

blame for many of the delays in treatment”), aff’d, 970 F.2d 896 (2d Cir. 1992).

      Plaintiff claims that the delay in receiving his blood pressure medication

and water caused the Renal Insufficiency Syndrome with which he was

diagnosed in Rikers Island six months later. However, he has proffered no

medical evidence from which a trier of fact could discern a causal connection;

to the contrary, the medical records from Rikers disclose that Plaintiff suffered

from both chronic kidney disease and chronic Hepatitis C, both of which were

more likely causes of his Renal Insufficiency Syndrome and neither of which

could have been caused by a half-day deprivation of medication. (See, e.g., Pl.

Br., Dkt. #109-3 at 31). And with respect to Plaintiff’s psychological

conditions, the record is clear that Plaintiff received medication at Bellevue

after reporting his diagnoses, thanks in large measure to Defendants’ efforts in

transferring him to the hospital for medical clearance. (See DeCastro Decl.,

Ex. KK).

      In short, while the Court is mindful — and law enforcement should be

equally mindful — of the need for officers to ensure that arrestees and


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detainees remain in compliance with their medical and mental health

treatment regimens, no reasonable jury could find on these facts that any of

the Defendants was deliberately indifferent to any of Plaintiff’s medical or

psychological needs. Summary judgement is warranted, therefore, as to

Plaintiff’s Fourteenth Amendment claims.

      3.    Defendants Are Entitled to Qualified Immunity

      The Court has scrutinized the record and has found insufficient evidence

to raise a triable question of fact concerning constitutional violations visited

upon Plaintiff in connection with his arrest and prosecution for the burglary

charges. However, even had the Court found any such violation, it would have

found Defendants subject to qualified immunity. As detailed earlier in this

Opinion, the Court’s inquiries in this regard focus on whether Plaintiff has

proffered evidence of the violation of a right that was “clearly established,” and,

if so, whether it was “objectively reasonable” for the Defendant in question to

believe the conduct at issue was lawful. Gonzalez, 728 F.3d at 154.

      The Court acknowledges that the Fourth, Fifth, and Fourteenth

Amendments are well-known to law enforcement officers such as Defendants.

But whether the precise contours of these rights, as identified by Plaintiff in his

submissions, were clearly established may be a different issue. Assuming that

point, the Court nonetheless finds that it was objectively reasonable for

Defendants to believe that the following actions were lawful:

      (i)   Requesting consent to enter a halfway house from the
            manager of that halfway house, in order to question a
            then-current parolee living there;


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      (ii)    Observing, from an open door to a shared bedroom,
              Plaintiff using and possessing an inordinate number of
              electronics similar to electronics that had been reported
              to have been burglarized by an individual who had an
              appearance and crutches similar to those of Plaintiff;

      (iii)   Arresting Plaintiff after observing the electronics, the
              crutches, and the proximity of Plaintiff’s residence to
              the signal received from the “Find my [iP]hone”
              functionality, and after compiling witness statements
              and reports from other law enforcement officers that
              suggested Plaintiff’s involvement in the offenses;

      (iv)    Obtaining a DNA sample from a white styrofoam cup
              discarded by Plaintiff; and

      (v)     Obtaining a search warrant from a neutral magistrate
              based on the abundant evidence suggesting Plaintiff’s
              involvement in the burglaries.

On this record, there can be no serious quarrel with Defendants’ entitlement to

qualified immunity. For this independent reason, summary judgment in favor

of Defendants on all claims is warranted.




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                                 CONCLUSION

      For the foregoing reasons, Plaintiff’s motion for summary judgment is

DENIED, Defendants’ cross-motion for summary judgment is GRANTED, and

Plaintiff’s causes of actions are DISMISSED WITH PREJUDICE.

      The Clerk of Court is directed to terminate all pending motions, adjourn

all remaining dates, and close this case.

      SO ORDERED.

Dated:      January 16, 2018
            New York, New York               __________________________________
                                                  KATHERINE POLK FAILLA
                                                 United States District Judge




Sent by First Class Mail to:
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